                    Case 1:17-cv-07024-VSB Document 30 Filed 03/21/18 Page 1 of 5


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March 21, 2018

Via ECF

Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 415
New York, New York 10007

          Re:         Crystallex Int’l Corp. v. The Bank of New York Mellon,
                      Case No. 17 Civ. 7024 (VSB)

Dear Judge Broderick:

We represent Respondent The Bank of New York Mellon (“BNYM”) in the above-referenced turnover
proceeding. Late yesterday, we were informed by counsel for Petitioner Crystallex International
Corporation (“Crystallex”) that Crystallex and Proposed Intervenor-Respondent The Ministry of
Defense of the Bolivarian Republic of Venezuela (the “Ministry”), without BNYM’s involvement, had
agreed upon a Stipulation that, among other things, directs the disposition of the funds that are the
subject of this proceeding. (A copy of the Stipulation is attached as Exhibit A.) We understand that the
Stipulation has been submitted to the Court to be So Ordered.

Because the relief Crystallex and the Ministry request affects and requires action by BNYM, and the
Stipulation does not address several issues that necessarily must be resolved in this proceeding
(including rights and duties addressed in an earlier stipulation between BNYM and Crystallex [ECF No.
28]), BNYM respectfully requests seven (7) calendar days to submit a letter response to the Stipulation
before the Court considers the Stipulation.

We attempted to reach counsel for Crystallex by email and telephone to discuss these issues prior to
filing this letter, but counsel did not respond—presumably because of the weather.

Respectfully submitted,

/s/ C. Neil Gray

C. Neil Gray

cc:       All Counsel of Record (Via ECF)




       ABU DHABI i ATHENS i BEIJING i CENTURY CITY i CHICAGO i DUBAI i FRANKFURT i HONG KONG i HOUSTON i KAZAKHSTAN i LONDON i LOS ANGELES i MIAMI i MUNICH
 NEW YORK i PARIS i PHILADELPHIA i PITTSBURGH i PRINCETON i RICHMOND i SAN FRANCISCO i SHANGHAI i SILICON VALLEY i SINGAPORE i TYSONS i WASHINGTON, D.C. i WILMINGTON



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Case 1:17-cv-07024-VSB Document 30 Filed 03/21/18 Page 2 of 5



                          Exhibit A
                         [Stipulation]
Case 1:17-cv-07024-VSB Document 30 Filed 03/21/18 Page 3 of 5
Case 1:17-cv-07024-VSB Document 30 Filed 03/21/18 Page 4 of 5
Case 1:17-cv-07024-VSB Document 30 Filed 03/21/18 Page 5 of 5
